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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

THOMAS J. BROWN,

                Plaintiff,

v.                                                CASE NO: 8:16-00579

CITIBANK, N.A., and ARS NATIONAL
SERVICES, INC.,

                Defendant.
                                              /

                NOTICE OF STIPULATION OF VOLUNTARY DISMISSAL
                               AS TO ALL PARTIES

       COMES NOW, Plaintiff, THOMAS J. BROWN, by and through undersigned counsel,
and voluntarily dismisses its complaint on all counts against ALL PARTIES, with prejudice.


/s/ John Dicks II                         /s/Michael A. Ziegler
John Dicks, II, Esq                       Michael A. Ziegler, Esq.
Attorney for Citibank, N.A.               Attorney for Plaintiff

/s/ Louis M. Ursini, III, Esq.
Attorney for ARS National
Services, Inc.,
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                               CERTIFICATE OF SERVICE

        I certify that a copy hereof has been furnished as follows on this 30 day of September,
2016.

_ X_ E-mail/E-Services, ____ Delivery, _ __ US Mail, __ Fax



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